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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               v.                              Criminal Action No. 19-cr-18 (ABJ)

ROGER J. STONE, JR.,

                       Defendant.

               ROGER J. STONE, JR.’s RESPONSE IN OPPOSITION TO
              MOTION FOR LEAVE TO FILE LETTER BRIEF OF AMICI
             CURIAE PROFESSORS ETHAN LEIB AND JED SHUGERMAN

        The Court should deny proposed amici’s motion for leave to file a “letter brief” in this

action (ECF # 396) due to (1) a lack of jurisdiction; (2) the lack of any rule providing for amicus

filings in criminal cases; and (3) assuming arguendo that Local Civil Rule 7(o) regarding amicus

filings in civil cases is applicable in a criminal case, the failure to meet the requirements of the

Rule.

        First, the Court should deny the motion because jurisdiction is vested in the United States

Court of Appeals for the District of Columbia. On April 30, 2020, Stone filed a notice of appeal

indicating his intent to appeal from the Judgment in a Criminal Case, entered on February 20,

2020 (ECF # 328), the sentence imposed, and all underlying orders. ECF # 376, Notice of

Appeal. As a result, jurisdiction of all matters within the ambit of the Notice of Appeal was

transferred to the Court of Appeals. United States v. DeFries, 129 F.3d 1293, 1302 (D.C. Cir.

1997) (citing Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982)) (holding that

filing of notice of appeal divests district court of jurisdiction). Moreover, even with respect to

the issue of the surrender date, which is the issue on which proposed amici seek to pin their

motion, the Court of Appeals did not remand the matter to the district court. Consequently, the

Court should deny the motion due to lack of jurisdiction.
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       Second, “as the Court has emphasized on multiple occasions already, there is no rule of

Federal Criminal Procedure that permits non-parties to join the proceedings to put their two cents

in . . . .” Minute Order, March 15, 2019. The Court denied previous requests to file amicus

briefs on this basis and should do so here.1

       Third, even were proposed amici able to overcome the first two obstacles to their

motion—and they cannot—assuming arguendo the applicability of Local Civil Rule 7(o) to a

criminal action, the motion fails under the plain language of Rule 7(o), which requires that “[a]

motion for leave to file an amicus brief shall concisely state . . . why the matters asserted are

relevant to the disposition of the case.” LCvR 7(o). Here, there are simply no pending issues in

this Court to which “the matters asserted [in the motion] are relevant to the disposition of the

case.” Id.2

       Proposed amici attempt to avoid this requirement by referencing the Court’s July 13,

2020 minute order. On July 13, 2020, “[i]n response to questions raised by the U.S. Probation

Office,” the Court ordered the parties to provide the Court with “a copy of the Executive Order

commuting the defendant’s sentence and to address the question of the scope of the

commutation, in particular, whether it involves the sentence of incarceration alone or also the




1
  See also United States v. Manafort, 17-cr-201 (ABJ), Minute Order, November 29, 2017
(“There are many places and means available for a private citizen to express his views about
matters of public interest, but the fact is, the Court’s docket is not one of them. It is the record of
official proceedings related to criminal charges . . . and for the benefit of all parties concerned
and the public, it must be maintained in an orderly fashion and in accordance with court rules.
The movant is correct in his assertion that under different circumstances, in civil cases, ‘friends
of the court’ may seek permission to file briefs, see Local Civil Rule 7(o), but those
circumstances do not pertain here.” (emphasis supplied)).
2
 Given that proposed amici have requested permission to file a “letter brief,” the proposed filing
would also run afoul of Local Civil Rule 7(o)(5), which requires that an amicus brief comply
with Fed. R. App. P. 29(a)(4), which sets forth formatting and disclosure requirements.

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period of supervised release.” Minute Order, July 13, 2020. The minute order does not question

the validity of the grant of clemency or call for the parties to address that issue. On its face, the

order plainly seeks only information relevant to an inquiry from Probation, which the parties

promptly provided. Thus, there is no matter pending before the Court requiring disposition on

which proposed amici can offer any relevant information. Accordingly, the Court should deny

the motion for this reason, also.

        Proposed amici cite In re: Search of Info. Associated with @mac.com that is Stored at

Premises Controlled by Apple, Inc. (“In re: Search of Info.”), 13 F. Supp. 3d 157 (D.D.C. 2014)

(denying application for leave to file amicus brief), in support of their application. That case is

inapposite, because, unlike the instant action, it involved an issue that was then being litigated by

the parties, which, as discussed above, is not the case here. Indeed, proposed amici quote

language from In re: Search of Info. stating that amicus briefs may be permitted where “the brief

will assist the judges by presenting ideas, arguments, theories, insights, facts, or data that are not

to be found in the parties’ briefs.” ECF # 396 at 3 (quoting In re: Search of Info.) (internal

quotation marks omitted) (emphasis supplied). Implicit in the fact that the quoted language

refers to potential deficiencies “in the parties’ briefs” is that the parties must be litigating an

issue before the court can contemplate permitting amicus to participate. As there is no such issue

present here, In re: Search of Info. provides no support for proposed amici’s motion.

        Proposed amici also cite Hard Drive Prods. v. Does 1-1,495, 892 F. Supp. 2d 334

(D.D.C. 2012), for the proposition that “[a]micus participation is normally appropriate when (a)

‘a party is not represented competently or is not represented at all,’ (b) ‘the amicus has an

interest in some other case that may be affected by the decision in the present case,’ or (c) ‘when

the amicus has unique information or perspective that can help the court beyond the help that the




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lawyers for the parties are able to provide.’” ECF # 396 at 4 (quoting Hard Drive Prods.). Hard

Drive Prods. is inapplicable here, however, given that none of the circumstances that it identifies

as warranting the inclusion of amicus is present in this action.

       Also cited in proposed amici’s motion is Voices for Choices v. Ill. Bell Tel. Co., 339 F.3d

542 (7th Cir. 2003). In Voices for Choices, the Seventh Circuit denied leave for amicus to

participate in the action and noted numerous reasons for restricting the participation of amicus to

protect the judicial process. Among the court’s concerns regarding the participation of amicus is

the burden on judges from excessive briefing; the potential for parties to abuse the privilege as a

means to avoid briefing limitations; the time and costs imposed on parties to read and respond to

amicus briefs; and the use of an amicus brief “to inject interest group politics into” the judicial

process. Id. at 544 (citing NOW, Inc. v. Scheidler, 223 F.3d 615, 617 (7th Cir. 2000)).

       The concerns raised in Voices for Choices are amply illustrated by the instant motion.

There is no doubt that granting the motion would impose on both the Court and the parties the

need to expend time and resources to read and respond to any filing of proposed amici. More

importantly, however, the concern that amicus briefs may be utilized “to inject interest group

politics into” the judicial process cannot be ignored here. Indeed, counsel for proposed amici,

who are officers and directors of Free Speech for the People, plainly have a political agenda that

they seek to further through the filing of a brief. https://freespeechforpeople.org/about/.

       A cursory examination of the group’s website quickly reveals the group’s political

agenda, which includes, inter alia, (1) a petition calling for the impeachment of President

Trump; (2) a campaign to dissolve the Trump Organization; (3) calls for financial contributions

to support their agenda; and (4) advertisements hawking publications that support their agenda.




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https://freespeechforpeople.org/#. The Court should not permit the judicial process to be coopted

to inject interest group politics into this closed action.3

        It is not, and should not be, the role of amicus to inject issues into a case, but rather to

assist a court in disposing of an issue that may not otherwise be fully litigated. To allow

proposed amici to insert an issue for the parties to litigate would set a precedent for unlimited

intrusions into the judicial process. Furthermore, should the Court permit proposed amici to file

a brief in this closed action, it will open the floodgates to what will surely be a deluge of amici

seeking to join the fray. The questions that proposed amici seek to resolve are indeed political

ones that are best reconciled through the political process.




3
  As noted in footnote 1, supra, amicus filings must comply with Fed. R. App. P. 29(a)(4), which
requires amici to disclose whether “a party’s counsel” or “a person—other than amicus curiae,
its members, or its counsel—contributed money that was intended to fund preparing . . .
or submitting the brief and, if so, identifies each such person.” As reflected in Free Speech for
the People’s 2019 annual report, it receives financial support from several organizations,
including Need to Impeach. 2019 Annual Report at 6, https://freespeechforpeople.org/about/.

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                                          CONCLUSION

       It is respectfully submitted that the Court should deny proposed amici leave to file a brief

in this action, because (a) this Court lacks jurisdiction, (b) there is no rule of law allowing for

amicus in criminal cases, and (c) proposed amici have failed to satisfy the requirements of Local

Civil Rule 7(o), assuming arguendo that the Rule applies in criminal cases.

Dated: July 24, 2020

Respectfully submitted,

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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that, on July 24, 2020, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I further certify that the foregoing is being served this day on

counsel for proposed amici via email.

                                                                /s/ Seth Ginsberg
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